            Case 2:24-mj-16111-JRA
                             UNITEDDocument
                                     STATES 159DISTRICT
                                                 Filed 06/28/24 Page 1 of 1 PageID: 309
                                                             COURT
                                                                              for the
                                                                  District of New Jersey

                                               MAGISTRATE'S COURTROOM MINUTES

                                                                                            MAGISTRATE JUDGE: _W_a_ld_or_ _ _ _ _ _ _ __

                  UNITED STATES OF AMERICA
                                                            Plaintiff
                                                                                            CASE NO. 24-mj-16111-JRA-14


                                     V.
                                                                                            DA TE OF PROCEEDINGS: -
                                                                                                                  6/28/24
                                                                                                                    --------
                         CHAJUAN HEMINGWAY
                                                                                            DATE OF ARREST:
                                                           Defendant                                          - 5/30/24
                                                                                                                -----------

PROCEEDINGS:              Bail Application
                         ----"--"----------
D COMPLAINT                                                                             D TEMPORARY COMMITMENT
D ADVISED OF RIGHTS                                                                     0 CONSENT TO DETENTION WITH RIGHT TO MAKE A
D ORDER OF DETENTION                                                                    0 BAIL APPLICATION AT A LATER TIME
D APPT. OF COUNSEL: C7 AFPD C7 CJA                                                      0 BAIL DENIED - DEFENDANT REMANDED TO CUSTODY
0 PRELIMINARY HEARING WAIVED ON THE RECORD                                              ~ BAIL SET:    /po 1 "'" "". c.,r,
0   CONSENT TO MAGISTRATE'S JURISDICTION                                                      [§UNSECURED BOND
0   PLEA ENTERED:           C7
                           GUILTY                  C7
                                                 NOTGUILTY                                       0SURETY BOND SECURED BY CASH/PROPERTY
D   PLEA AGREEMENT                                                                      D   TRAVEL RESTRICTED- - - - - - - - - - -
0 RULE 11 FORM                                                                          □ REPORT TO PRETRIAL SERVICES
0 FINANCIAL AFFIDAVIT EXECUTED                                                          0   DRUG TESTING AND/OR TREATMENT
C?) OTHER: l>A l \           «y
                    f II l-"~ +1 Or) 1-\ ,;iq{ c                                        0   MENTAL HEAL TH TESTING AND/OR TREATMENT
                                                                                        0   SURRENDER AND/OR OBTAIN NO PASSPORT
                                                                                        Q;,SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                                        T ADDITIONAL CONDITIONS
 HEARING SET FOR:

0    PRELIMINARY/REMOVALHRG.                                                                DATE: _ _ _ _ _ _ _ _ _ _ _ _ __
D    DETENTION/BAIL HRG.                                                                    DATE: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                            DATE: _ _ _ _ _ _ _ _ _ _ _ _ __
D    TRIAL:C7._couRT c=J_JURY
D    SENTENCING                                                                             DATE:- - - - - - - - - - - - - -
D    OTHER:- - - - - - - - - - - -                                                          DATE: _ _ _ _ _ _ _ _ _ _ _ _ __



 APPEARANCES:


 AUSA:- -GEORGE MEHRIZ BARCHINI , JR.
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 DEFT. COUNSEL:            STACY A. BIANCAMANO

 PROBATION:- - - - - - - - - - - - - - -
 INTERPRETER_ _ _ _ _ _ _ _ _ _ _ _ __
              Language:


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